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                          EXHIBIT J

                    Summary of Deficiencies
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                                                            SUMMARY OF DEFICIENCIES

           Relevant Document Request(s)1                                    Response                                              Status
    Sinai Amended Request No. 4: Please produce           A copy of the Sinai Holdings LLC tax returns for   Incomplete. The Foreign Representatives are
    an extract from Sinai’s management accounts of        2020, 2021, 2022 and 2023 have been disclosed.     entitled to all responsive documents with respect
    all general ledgers; adjusting journal entries; and                                                      to this request.
    bank reconciliations, for the Relevant Period.        None of the financial records relied upon to
                                                          prepare these tax returns, or any other            The Operating Agreement of Sinai Holdings
                                                          accounting records have been disclosed.            LLC dated March 14, 2017 (“Sinai Op Agt.”),
                                                                                                             states that the Manager(s) (identified as Jacob
                                                                                                             Gitman, and subsequently amended to add
                                                                                                             Reliable Rx LLC and Iakov Gitman and remove
                                                                                                             Jacob Gitman) and the Company are responsible
                                                                                                             for maintaining accurate books and records as
                                                                                                             follows:
                                                                                                             “14. Management
                                                                                                             …..The Managers shall cause to be performed
                                                                                                             all general and administrative services on behalf
                                                                                                             of the Company in order to ensure that complete
                                                                                                             and accurate books and records of the Company
                                                                                                             are maintained at the Company’s place of
                                                                                                             business”
                                                                                                             “In addition to day-to-day management tasks
                                                                                                             and any other duties and responsibilities already
                                                                                                             identified in this Agreement, the Managers’
                                                                                                             duties will include keeping, or causing to be
                                                                                                             kept, full and accurate business records for the
                                                                                                             Company according to Generally Accepted
                                                                                                             Accounting Principles (GAAP) or International
                                                                                                             Financial Reporting Standards (IFRS), and
                                                                                                             overseeing the preparation of any reports
                                                                                                             considered reasonably necessary to keep the
                                                                                                             Members informed of the business performance
                                                                                                             of the Company.”
                                                                                                             “29. Books of Account
                                                                                                             Accurate and complete books of account of the
                                                                                                             transactions of the Company will be kept in

1
       Capitalized terms used but not defined in this Summary shall have the meanings provided in the Document Requests (as defined in the Motion).
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       Relevant Document Request(s)1                                 Response                                              Status
                                                                                                      accordance       with   Generally     Accepted
                                                                                                      Accounting Principles (GAAP) or International
                                                                                                      Financial Reporting Standards (IFRS), and at all
                                                                                                      reasonable times will be available and open to
                                                                                                      inspection and examination by any Member.
                                                                                                      The books and records of the Company will
                                                                                                      reflect all the Company’s transactions and will
                                                                                                      be appropriate and adequate for the business
                                                                                                      conducted by the Company.”

Sinai Repeated Request No. 6: Please produce       Provided a Certificate of Liability Insurance      Incomplete. The Foreign Representatives
All Documents relating to each insurance policy    dated 07/17/2024. Flood Insurance for April 26,    require all documents relating to any insurance
held by Sinai Holdings during the Relevant         2024 – April, 26, 2025 policy declaration form.    policies held, including, any Directors &
Period, including all contracts, proofs of                                                            Officers or other professional liability coverage,
insurance, and related Documents.                  On November 20, 2024 further insurance policy      all Coface policies held during the Relevant
                                                   documents were disclosed which appear to           Period, and all other insurance policies.
                                                   mostly comprise of insurance policies, including
                                                   malpractice policies, related to the underlying
                                                   clinics.
Sinai Amended Request No. 7: Please produce        Provided one set of audited financial statements   Incomplete. The Foreign Representatives
all audited and unaudited financial statement(s)   for Sinai Holdings LLC and Subsidiaries as at      require all unaudited and audited financial
of Sinai Holdings for the Relevant Period.         December 31, 2020.                                 statements.
Where an audit was not performed for a period
during the Relevant Period, please confirm in      Have not confirmed whether audits were             The Sinai Op Agt. details the financial records
writing.                                           conducted for the remainder of the Relevant        that are to be maintained including;
                                                   Period.                                            “34. Annual Report
                                                                                                      As soon as practicable after the close of each
                                                                                                      fiscal year, the Company will furnish to each
                                                                                                      Member an annual report showing a full and
                                                                                                      complete account of the condition of the
                                                                                                      Company including all information as will be
                                                                                                      necessary for the preparation of each Member’s
                                                                                                      income or other tax returns. This report will
                                                                                                      consist of at least:
                                                                                                      a. A copy of the Company’s federal income tax
                                                                                                      returns for that fiscal year.
                                                                                                      b. Income Statement.
                                                                                                      c. Balance sheet.
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      Relevant Document Request(s)1                                  Response                                              Status
                                                                                                      d. Cash flow statement.
                                                                                                      e. A breakdown of the profit and loss attributable
                                                                                                      to each Member.”
                                                                                                      Where an audit was not performed, please
                                                                                                      confirm this and the reason why an audit was not
                                                                                                      completed.”
Sinai Repeated Request No. 8: Please provide      Sinai has not produced any relevant documents       Incomplete. The Foreign Representatives
a current statement of financial position, cash   in connection with this request.                    require a full copy of all financial records which
flow and income statement, together with All                                                          would have been required to be maintained to
Documents necessary to verify the current                                                             operate the business.
financial position of Sinai Holdings.
                                                                                                      The Sinai Op Agt. details the responsibilities of
                                                                                                      the Manager(s) and the Company to maintain
                                                                                                      accurate books and records:
                                                                                                      “28. Records
                                                                                                      The Company will at all times maintain accurate
                                                                                                      records of the following:
                                                                                                           a. Information regarding the status of the
                                                                                                                business and the financial condition of
                                                                                                                the Company.”
                                                                                                      “29. Books of Account
                                                                                                      Accurate and complete books of account of the
                                                                                                      transactions of the Company will be kept in
                                                                                                      accordance       with    Generally     Accepted
                                                                                                      Accounting Principles (GAAP) or International
                                                                                                      Financial Reporting Standards (IFRS), and at all
                                                                                                      reasonable times will be available and open to
                                                                                                      inspection and examination by any Member.
                                                                                                      The books and records of the Company will
                                                                                                      reflect all the Company’s transactions and will
                                                                                                      be appropriate and adequate for the business
                                                                                                      conducted by the Company.”
Sinai Amended Request No. 9: Please produce       On September 16, 2024 Sinai objected to the         Incomplete. The Foreign Representatives
all Communications concerning the Master Loan     Foreign Representatives’ initial Request No. 9,     proposed an ESI protocol attached as Annex 1 to
Agreement     between     Prudent    Cayman       arguing that the request is overly burdensome       the Discovery Deficiency Letter dated October
Investment Funds Master SPC - North American      because it would require production of              8, 2024 (the “Sinai Deficiency Letter”).
Opportunity Master SP and Sinai Holdings LLC      thousands of emails. Sinai also contends that the
dated November 14, 2018 (“2018 MLA”) and          request would not be allowed without first
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           Relevant Document Request(s)1                                   Response                                              Status
    December 1, 2022 (“2022 MLA”) (including but        establishing electronically stored information      No data sourced using the ESI protocol and
    not limited to drawdowns, utilization of funds,     (“ESI”) protocols and determining whether cost-     search terms has been provided.
    repayment, forbearance, and accounts receivable     shifting is appropriate.
    pledged as security) between You and any and all
    representatives of the Foreign Debtors,             With the exception of certain limited email
    including, but not limited to, U.S. Investment      communications produced on October 30,
    Manager, LLC, Prudent Group, Mr. Dennis             2024, from a manual search by Mr. Jacob
    Klemming, Mr. Niklas Klemming, Mr. Gareth           Gitman of his inbox, Sinai has not produced
    Williams, and Mr. Richard Reich.                    any relevant documents in connection with this
                                                        request.
    Sinai Amended Request No. 11: Please produce        Provided certain account statements for Sinai       Incomplete. The Foreign Representatives
    copies of all bank statements for the Relevant      Holdings.                                           require a list of all accounts held during the
    Period for: a) the accounts in the revised                                                              Relevant Period in the name of each of the
    Annex 1 attached hereto2 and any and all            On October 15, 2024, provided some account          entities for which they have requested financial
    Borrower’s Bank Accounts and Operational            statements for Sinai Holdings LLC, however, the     records, all bank statements, and, for any
    Accounts (as defined by section 4 of the 2018       statements had missing pages or included white-     missing statements, reasons therefor.
    MLA and 2022 MLA); and b) any other bank            out redactions.
    account in the name of Sinai Holdings for the                                                           Please refer to Schedule 1 attached hereto,
    Relevant Period.                                    On October 30, 2024, provided complete bank         providing details of accounts identified by the
                                                        statements for certain Sinai Holdings LLC bank      Foreign Representatives and the periods for
                                                        accounts for limited selected months.               which bank statements have been provided to
                                                                                                            date.     This list of accounts may not be
                                                                                                            exhaustive, and confirmation of all accounts is
                                                                                                            required.
    Sinai Repeated Request No. 13: Please               Counsel for Sinai responded on September 16,        Incomplete. The Foreign Representatives are
    produce a schedule detailing all security granted   2024 that “Sinai intends to collect documents       entitled to all responsive documents with respect
    in respect of the obligations created under the     responsive to this request. Sinai’s employee who    to this request.
    2018 MLA and 2022 MLA, including, but not           handles its bookkeeping has been out of the
    limited to:                                         office for several weeks for medical reasons.
    a) all assigned and pledged receivables             Once the employee returns, Sinai believes it will
    (including Medicare receivables), together with     be able to produce documents responsive to this
    copies      of   all   corresponding       claims   request.” No documents have been provided to
    documents/invoices provided as security;            date.


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       Annex 1 is attached to the Discovery Deficiency Letter dated as of October 8, 2024.
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       Relevant Document Request(s)1                                   Response                                              Status
b) details of when those claims/invoices were       By letter dated November 1, 2024, Sinai’s
paid, amount paid and details of the account(s)     counsel stated “We have also asked our client
into which proceeds were paid (account name,        whether the schedules of pledged collateral
number, institution); and                           identified in the loan agreements between
c) how those proceeds were utilized thereafter.     Prudent and Sinai and Technocon are in their
                                                    possession. They have informed us that these
                                                    schedules, to the extent they were ever created,
                                                    were created and are in the possession of
                                                    Prudent…”
Sinai Repeated Request No. 14: Please               Counsel for Sinai responded on September 16,        Incomplete. The Foreign Representatives are
produce all Draw Down Notices issued under the      2024 that “Sinai intends to collect documents       entitled to all responsive documents with respect
2018 MLA and 2022 MLA, together with All            responsive to this request. Sinai’s employee who    to this request, including all Communications
Documents and Communications in connection          handles its bookkeeping has been out of the         regarding the Drawdowns.
therewith.                                          office for several weeks for medical reasons.
                                                    Once the employee returns, Sinai believes it will
                                                    be able to produce documents responsive to this
                                                    request.”

                                                    On November 8, 2024 three drawdown
                                                    schedules were produced, two of which concern
                                                    loans with lenders not involved in these
                                                    proceedings and which are unrelated to the 2018
                                                    MLA or 2022 MLA. The “NAO – Reconciliation
                                                    Model” produced is understood to have been
                                                    prepared by the Administrator and/or Prudent
                                                    Group.
Sinai Amended Request No. 15: Please                Sinai has not produced any relevant documents       Incomplete. The Foreign Representatives are
produce, in relation to the Enterprise Valuation    in connection with this request.                    entitled to all responsive documents with respect
of Sinai Holdings LLC conducted by                                                                      to this request.
Stonebridge Advisory Inc. (“Stonebridge”) for
effective date March 15, 2024 (i) a copy of the
fully executed engagement letter; (ii) a copy of
Stonebridge’s invoice and proof of payment;
(iii) All Documents and information provided to
Stonebridge to complete that Enterprise
Valuation; and (iv) a copy of Stonebridge’s final
report.
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       Relevant Document Request(s)1                                   Response                                            Status
Sinai Amended Request No. 17: Please                  Sinai has not produced any relevant Documents   Incomplete. The Foreign Representatives are
produce All Documents and Communications              and Communications in connection with this      entitled to all responsive documents with respect
related to any utilization of the following funds     request.                                        to this request.
advanced under the terms of the 2018 MLA and
2022 MLA. Where the following funds were
used to acquire assets, please provide
Documents in connection [with the table set
forth in the Sinai Deficiency Letter].
Sinai Amended Request No. 18: Please                  Sinai has not produced any relevant Documents   Incomplete. The Foreign Representatives are
produce All Documents and Communications              and Communications in connection with this      entitled to all responsive documents with respect
surrounding the origination of the 2018 MLA           request.                                        to this request.
and 2022 MLA.
Sinai Amended Request No. 20: Please                  Sinai has not produced any relevant documents   Incomplete. The Foreign Representatives are
produce an asset schedule detailing all real estate   in connection with this request.                entitled to all responsive documents with respect
holdings and in-progress construction projects in                                                     to this request.
which Sinai Holdings has an interest (including
an indirect or part interest), specifying:
(i) ownership percentage; (ii) encumbrances;
(iii) approximate market value; (iv) description
of current status (i.e. complete, operational,
under construction, for sale, sold, under contract
etc.); (v) projected completion date (where
applicable); (vi) funding to date and funding
projections to completion (where applicable);
and (vii) details of other participants/joint
venture partners where applicable.
Sinai Repeated Request No. 21: Please                 Sinai has not produced any relevant documents   Incomplete. The Foreign Representatives are
produce, for all assets in addition to those          in connection with this request.                entitled to all responsive documents with respect
referenced in Request for Production No. 20, an                                                       to this request.
asset schedule detailing the assets, ownership of
each asset, current market value of each asset,
and any corresponding liabilities, for each asset
held or owned by Sinai Holdings and its
affiliates or related entities, together with All
Documents and Communications concerning the
acquisition, disposal, encumbrances and
condition of such assets and liabilities, as
applicable.
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       Relevant Document Request(s)1                                  Response                                              Status
Sinai Amended Request No. 23: Please                Sinai has not produced any relevant documents      Incomplete. The Foreign Representatives are
produce copies of all financing agreements,         in connection with this request.                   entitled to all responsive documents with respect
including factoring agreements, with the                                                               to this request.
following parties, including details of any
security or receivables pledged and confirmation
of the outstanding balance under those
agreements:
a) SPI Investment Fund SPC;
b) Benworth Capital Partners LLC; and
c) Any other lender or borrower.
Sinai Repeated Request No. 24: Please               Sinai has not produced any relevant documents      Incomplete. The Foreign Representatives are
produce, in respect to Sinai Holdings’              in connection with this request.                   entitled to all responsive documents with respect
shareholding in Core Scientific Creations Ltd                                                          to this request.
(“CSC”), (i) a copy of the Sale Purchase
Agreement, documenting Sinai Holdings’
acquisition; (ii) All Documents upon which Sinai
Holdings relied (due diligence etc.) in deciding
to acquire its shareholding; (iii) a narrative
explanation detailing how Sinai Holdings’
acquisition was funded; (iv) the most recent
valuation for CSC; (v) the last set of audited
financial statements for CSC; and (vi) details of
the current operational status of CSC.
Sinai Repeated Request No. 25: Please               A copy of the final audited financial statements   Incomplete. The Foreign Representatives are
produce All Documents and Communications            for Sinai Holdings LLC and Subsidiaries as of      entitled to all responsive documents with respect
concerning the audit of Sinai Holdings              December 31, 2020 has been provided. Certain       to this request.
conducted by Hancock Askew and Co for the           email communications with Hancock Askew and
financial year ending December 31, 2020, which      Co. have also been provided. No other relevant
was issued on July 7, 2023.                         documents have been provided.
Sinai Amended Request No. 26: Please                A copy of the Operating Agreement of Sinai         Incomplete. The Foreign Representatives are
produce all director resolutions and shareholder    Holdings LLC dated March 14, 2017 and              entitled to all responsive documents with respect
resolutions and any materials prepared in           amendments dated April 24, 2017 and December       to this request.
connection with any Sinai Holdings board            20, 2017 were provided.
meetings, including board meeting minutes, for                                                         The Sinai Op Agt. states that “Regular meetings
the Relevant Period.                                No other relevant records have been provided.      of the members will be held monthly.” and that
                                                                                                       “The unanimous vote is required on major
                                                                                                       matters (over $50,0000 under this Operating
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      Relevant Document Request(s)1                                 Response                                             Status
                                                                                                    Agreement. Major matters/decisions are to be
                                                                                                    documented and signed by all Members.”
                                                                                                    Production should include minutes of all
                                                                                                    Members meetings and all resolutions, or
                                                                                                    equivalent documents.
Sinai Repeated Request No. 27: Please            Sinai has not produced any relevant documents      Incomplete. The Foreign Representatives are
produce all reports, performance updates, and    in connection with this request.                   entitled to all responsive documents with respect
promotional materials issued to investors and                                                       to this request.
potential investors in Sinai Holdings for the
Relevant Period.                                                                                    If no such records exist, please certify this to be
                                                                                                    the case.
Sinai Electronically Stored Information and      Sinai does not appear to have completed a search   Incomplete. The Foreign Representatives
search terms                                     of ESI using the ESI protocol.                     proposed an ESI protocol attached as Annex 1 to
                                                                                                    the Sinai Deficiency Letter.

                                                                                                    No data sourced using the ESI protocol and
                                                                                                    search terms has been provided.
Alliance Amended Request No. 1: Please           Provided a copy of the Amended Operating           Incomplete. The Foreign Representatives are
produce an organizational chart reflecting the   Agreement of Alliance Metals, LLC dated June       entitled to all responsive documents with respect
corporate      structure,      ownership,  and   8, 2017 “Alliance Op Agt.”).                       to this request.
management/control of Alliance Metals, and
record of any changes thereto, during the        Alliance has not produced any other relevant
Relevant Period.                                 documents in connection with this request.
Alliance Amended Request No. 3: Please           A copy of Alliance Metals’ tax returns for 2020,   Incomplete. The Foreign Representatives are
produce an extract from Alliance Metals’         2021, 2022 and 2023 have been provided.            entitled to all responsive documents with respect
management accounts of all general ledgers;      Alliance Metals Alabama LLC tax returns for        to this request.
adjusting     journal     entries;   and  bank   2020, 2021 and 2022 have been provided.
reconciliations, for the Relevant Period.                                                           The Alliance Op Agt. states that the Manager(s)
                                                 None of the financial records relied upon to       (identified as Larry Gitman, and subsequently
                                                 prepare these tax returns, or any other            amended to add LGN International LLC
                                                 accounting records have been provided.             (“LGN”) on July 12, 2017, and on June 8, 2021
                                                                                                    to appoint Jacob Gitman as a Manager and
                                                                                                    remove LGN) and the Company are responsible
                                                                                                    for maintaining accurate books and records as
                                                                                                    follows:
                                                                                                    “14. Management
                                                                                                    ….. In addition to day-to-day management tasks
                                                                                                    and any other duties and responsibilities already
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      Relevant Document Request(s)1                                Response                                           Status
                                                                                                 identified in this Agreement, the Managers'
                                                                                                 duties will include keeping, or causing to be
                                                                                                 kept, full and accurate business records for the
                                                                                                 Company according to Generally Accepted
                                                                                                 Accounting Principles (GAAP) or International
                                                                                                 Financial Reporting Standards (IFRS),and
                                                                                                 overseeing the preparation of any reports
                                                                                                 considered reasonably necessary to keep the
                                                                                                 Members informed of the business performance
                                                                                                 of the Company.”
                                                                                                 “28. Records
                                                                                                 The Company will at all times maintain accurate
                                                                                                 records of the following:
                                                                                                 a. Information regarding the status of the
                                                                                                 business and the financial condition of the
                                                                                                 Company.”
                                                                                                 “29. Books of Account
                                                                                                 Accurate and complete books of account of the
                                                                                                 transactions of the Company will be kept in
                                                                                                 accordance        with     Generally   Accepted
                                                                                                 Accounting Principles (GAAP) or International
                                                                                                 Financial Reporting Standards (IFRS) and at all
                                                                                                 reasonable times will be available and open to
                                                                                                 inspection and examination by any Member. The
                                                                                                 books and records of the Company will reflect
                                                                                                 all the Company’s transactions and will be
                                                                                                 appropriate and adequate for the business
                                                                                                 conducted by the Company.”
Alliance Repeated Request No. 5: Please           Alliance produced a certificate of liability   Incomplete. The Foreign Representatives are
produce All Documents relating to each            insurance in response to this request.         entitled to all responsive documents with respect
insurance policy held by Alliance Metals during                                                  to this request.
the Relevant Period, including all contracts,
proofs of insurance, and related Documents.
Alliance Amended Request No. 6: Please            Alliance has not produced any relevant         Incomplete. The Foreign Representatives are
produce all audited and unaudited financial       documents in connection with this request.     entitled to all responsive documents with respect
statement(s) of Alliance Metals (including all                                                   to this request.
audit engagement letters) for the Relevant
Period. If an audit was not performed for a
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       Relevant Document Request(s)1                                   Response                                            Status
period during the Relevant Period, please            Alliance has not confirmed whether audits were   The Alliance Op Agt. states that the Company is
confirm in writing.                                  conducted for the remainder of the Relevant      to maintain accurate books and records and
                                                     Period.                                          prepare an annual report:
                                                                                                      “34. Annual Report
                                                                                                      As soon as practicable after the close of each
                                                                                                      fiscal year, the Company will furnish to each
                                                                                                      Member an annual report showing a full and
                                                                                                      complete account of the condition of the
                                                                                                      Company including all information as will be
                                                                                                      necessary for the preparation of each Member's
                                                                                                      income or other tax returns. This report will
                                                                                                      consist of at least: a. A copy of the Company's
                                                                                                      federal income tax returns for that fiscal year. b.
                                                                                                      Income statement. c. Balance sheet. d. Cash flow
                                                                                                      statement. e. A breakdown of the profit and loss
                                                                                                      attributable to each Member.”

Alliance Repeated Request No. 7: Please              Alliance has not produced any relevant           Incomplete. The Foreign Representatives are
provide a current statement of financial position,   documents in connection with this request.       entitled to all responsive documents with respect
cash flow and income statement, together with                                                         to this request.
all supporting Documents necessary to verify the
current financial position of Alliance Metals.                                                        The Alliance Op Agt. states that Company is to
                                                                                                      maintain accurate books and records:

                                                                                                      “29. Books of Account
                                                                                                      Accurate and complete books of account of the
                                                                                                      transactions of the Company will be kept in
                                                                                                      accordance      with    Generally    Accepted
                                                                                                      Accounting Principles (GAAP) or International
                                                                                                      Financial Reporting Standards (IFRS) and at all
                                                                                                      reasonable times will be available and open to
                                                                                                      inspection and examination by any Member. The
                                                                                                      books and records of the Company will reflect
                                                                                                      all the Company’s transactions and will be
                                                                                                      appropriate and adequate for the business
                                                                                                      conducted by the Company.”
                                                                                                      “34. Annual Report
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       Relevant Document Request(s)1                                   Response                                             Status
                                                                                                       As soon as practicable after the close of each
                                                                                                       fiscal year, the Company will furnish to each
                                                                                                       Member an annual report showing a full and
                                                                                                       complete account of the condition of the
                                                                                                       Company including all information as will be
                                                                                                       necessary for the preparation of each Member's
                                                                                                       income or other tax returns. This report will
                                                                                                       consist of at least: a. A copy of the Company's
                                                                                                       federal income tax returns for that fiscal year. b.
                                                                                                       Income statement. c. Balance sheet. d. Cash flow
                                                                                                       statement. e. A breakdown of the profit and loss
                                                                                                       attributable to each Member.”

Alliance Amended Request No. 8: Please              On September 16, 2024, Alliance objected to the    Incomplete. The Foreign Representatives are
produce all Communications concerning the           Foreign Representatives’ initial Request No. 8,    entitled to all responsive documents with respect
MLA (including but not limited to drawdowns,        arguing that the request is overly burdensome      to this request.
utilization of funds, repayment, forbearance, and   because it would require production of
accounts receivable pledged as security)            thousands of emails. Alliance also contends that
between You and any and all representatives of      the request would not be allowed without first
the Foreign Debtors, including, but not limited     establishing ESI protocols and determining
to, U.S. Investment Manager, LLC, Prudent           whether cost-shifting is appropriate.
Group, Mr. Dennis Klemming, Mr. Niklas
Klemming, Mr. Gareth Williams, and Mr.              With the exception of certain limited email
Richard Reich.                                      communications produced on October 30, 2024
                                                    from a manual search by Mr. Jacob Gitman of
                                                    his inbox, Alliance has not produced any
                                                    relevant documents in connection with this
                                                    request.
Alliance Repeated Request No. 11: Please            Alliance has not produced any relevant bank        Incomplete. The Foreign Representatives are
produce copies of all bank statements for the       statements in connection with this request.        entitled to all responsive documents with respect
Relevant Period in respect of:                                                                         to this request.
a) Alliance Metals, Chase Bank Account No.
           , and any and all other Borrower’s
Bank Accounts and Operational Accounts of
Alliance Metals (as defined by section 4 of the
MLA); and
b) Alliance Metals, First Metro Bank Account
No.         ;
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       Relevant Document Request(s)1                                  Response                                            Status
c) All DACA Deposit accounts maintained for
proceeds of any receivables pledged under the
MLA; and
d) any other bank account in the name of
Alliance Metals for the Relevant Period.
Alliance Repeated Request No. 13: Please            On September 13, 2024, counsel for Alliance      Incomplete. The Foreign Representatives are
produce a schedule detailing all security granted   responded that “Alliance intends to collect      entitled to all responsive documents with respect
in respect of the obligations created under the     documents responsive to this request. Two        to this request.
MLA, including, but not limited to:                 employees of Alliance have been out of the
a) All assigned and pledged receivables (together   office for several weeks, one for personal
with copies of all corresponding invoices);         reasons and one for medical reasons. Once the
b) Details of when those invoices were paid,        employees return, Alliance believes it will be
amount paid and details of the accounts(s) into     able to produce documents responsive to this
which proceeds were paid (including account         request.”
name, number and banking institution); and
c) How those proceeds were utilized thereafter.     Alliance has not produced any relevant
                                                    documents in connection with this request.
Alliance Repeated Request No. 14: Please            On September 13, 2024, counsel for Alliance      Incomplete. The Foreign Representatives are
produce all Draw Down Notices issued under the      responded that “Alliance intends to collect      entitled to all responsive documents with respect
MLA, together with all supporting Documents         documents responsive to this request. Two        to this request.
and Communications in connection therewith.         employees of Alliance have been out of the
                                                    office for several weeks, one for personal
                                                    reasons and one for medical reasons. Once the
                                                    employees return, Alliance believes it will be
                                                    able to produce documents responsive to this
                                                    request.”

                                                    On November 8, 2024 three drawdown
                                                    schedules were produced, two of which
                                                    concern loans with lenders not involved in
                                                    these proceedings and which are unrelated to
                                                    the MLA. The “NAO – Reconciliation Model”
                                                    produced is understood to have been prepared
                                                    by the Administrator and/or Prudent Group.
Alliance Amended Request No. 15: Please             Alliance has not produced any relevant           Incomplete. The Foreign Representatives are
produce All Documents and Communications            documents in connection with this request.       entitled to all responsive documents with respect
related to any utilization of the following funds                                                    to this request.
advanced under the terms of the MLA. Where
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       Relevant Document Request(s)1                                 Response                                          Status
the following funds were used to purchase                                                         The Alliance Op Agt. states that major
equipment and metals in the “lists of equipment                                                   transactions are to be documented:
and metals” referenced in response to this                                                        “14. Management
request under the September 10, 2024 response,                                                    …..The unanimous vote is
please specify and reference the specific assets                                                  required on major matters (over $500,000) under
funded by the below drawdowns: [table included                                                    this Operating Agreement. Major
in deficiency letter dated as of October 8, 2024].                                                matters/decisions are to be documented and
                                                                                                  signed by all Members.”
Alliance Amended Request No. 16: Please              Alliance has not produced any relevant       Incomplete. The Foreign Representatives are
produce All Documents and Communications             documents in connection with this request.   entitled to all responsive documents with respect
surrounding the origination of the MLA.                                                           to this request.
Alliance Amended Request No. 18: Please              Alliance has not produced any relevant       Incomplete. The Foreign Representatives are
produce copies of fully executed sale/purchase       documents in connection with this request.   entitled to all responsive documents with respect
agreements, PAID invoices, proof of payment or                                                    to this request.
any other relevant Documents evidencing
Alliance Metals’ ownership of the following
assets and details of any security pledged.
a) Various items of plant and equipment supplied
and installed by JW Jones Company, LLC
contained in the invoice no. 6464 dated January
31, 2019.
b) 114’ long Ingot Casting Conveyor supplied
and installed by Henderson Fabricating Co., Inc.
contained in quotation no. 07262021 dated July
26, 2021.
c) 200,000# Aluminum Side Well Melting
Furnace supplied and installed by Henderson
Fabricating Co., Inc. contained in the Proposal
dated August 11, 2021.
d) Dust Collection System supplied by ETA
Engineering, Inc. contained in the Revised
Scope of Work dated February 21, 2022.
e) Scrap Processing Equipment supplied by
Colonial Brick Company contained in the Wire
Instructions dated September 14, 2021.
f) Sow pouring trough, sow casting rack and the
sow launder platform supplied and installed by
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       Relevant Document Request(s)1                                Response                                           Status
Henderson Fabricating Co., Inc. contained in the
Price Estimate dated July 1, 2021.
g) Various items of plant and equipment and
associated installation by Steinert US contained
in the Customer Estimate No. QE18056-02
dated April 7, 2021.
h) 50,000 lb. capacity straight tilting Rotary
Furnace, supplied and installed by Mansell and
& Associates, LLC. contained in the Quote
121118 dated December 11, 2018.
i) Various items of plant and equipment and
associated installation by US Conveyor
Technologies contained in the Proposal Layout
Q0138-LAYOUT-R1 dated April 26, 2021.
j) X-ray Recovery System supplied and installed
by US Conveyor Systems contained in Sales
Order No. R167 dated April 30, 2021.
Alliance Amended Request No. 19: Please            On September 10, 2024, Alliance produced a     Incomplete. The Foreign Representatives are
produce copies of all financing agreements,        copy of the complaint filed in Amerant         entitled to all responsive documents with respect
including factoring agreements, with the           Equipment Finance v Alliance et al.            to this request.
following parties, including details of any
security or receivables pledged and confirmation   Alliance has not produced any other relevant
of the outstanding balance under those             documents in connection with this request.
agreements:
a) HYG Financial Services Inc.;
b) U.S. Small Business Administration;
c) Amerant Equipment Finance; and
d) Any other lender to Alliance
Alliance Electronically Stored Information         Alliance does not appear to have completed a   Incomplete. The Foreign Representatives
and search terms                                   search of ESI using the ESI protocol.          proposed an ESI protocol attached as Annex 1 to
                                                                                                  the Discovery Deficiency Letter dated October
                                                                                                  8, 2024.

                                                                                                  No data sourced using the ESI protocol and
                                                                                                  search terms has been provided.
Technocon Amended Request No. 1: Please            No relevant documents have been produced in    Incomplete. The Foreign Representatives are
produce an organizational chart reflecting the     connection with this request.                  entitled to all responsive documents with respect
corporate   structure,    ownership,       and                                                    to this request.
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       Relevant Document Request(s)1                                    Response                                             Status
management/control of Technocon, and record
of any changes thereto, during the Relevant
Period.
Technocon Amended Request No. 3: Please              Tax returns for Technocon International Inc. for   Incomplete. The Foreign Representatives are
produce in Microsoft Excel format, an extract        2021 have been provided.                           entitled to all responsive documents with respect
from Technocon’s management accounts of all                                                             to this request.
general ledgers; adjusting journal entries; and      None of the financial records relied upon to
bank reconciliations, for the Relevant Period.       prepare this tax return, or any other accounting
                                                     records have been provided.
Technocon Amended Request No. 4: Please              No relevant documents have been produced in        Incomplete. The Foreign Representatives are
produce All Documents relating to asset or           connection with this request.                      entitled to all responsive documents with respect
liability transfers to and from Technocon and its                                                       to this request.
affiliates and related entities for the Relevant
Period, for transaction values greater than or
equal to $100,000.
Technocon Repeated Request No. 5: Please             No relevant documents have been produced in        Incomplete. The Foreign Representatives are
produce all Documents relating to each               connection with this request.                      entitled to all responsive documents with respect
insurance policy held by Technocon during the                                                           to this request.
Relevant Period, including all contracts, proofs
of insurance, and related Documents.
Technocon Amended Request No. 6: Please              No relevant documents or response has been         Incomplete. The Foreign Representatives are
produce all audited and unaudited financial          produced in connection with this request.          entitled to all responsive documents with respect
statement(s) of Technocon (including all audit                                                          to this request.
engagement letters) for the Relevant Period.
Where an audit was not performed for a period
during the Relevant Period, please confirm in
writing.
Technocon Repeated Request No. 7: Please             No relevant documents have been produced in        Incomplete. The Foreign Representatives are
provide a current statement of financial position,   connection with this request.                      entitled to all responsive documents with respect
cash flow and income statement, together with                                                           to this request.
all supporting Documents necessary to verify the
current financial position of Technocon.



Technocon Repeated Request No. 8: Please             Technocon objected to Foreign Representatives’     Incomplete.    The Foreign Representatives
produce all Communications between You and           initial Request Request No. 8, arguing that the    proposed an ESI protocol attached as Annex 1 to
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       Relevant Document Request(s)1                                  Response                                             Status
any and all representatives of the Foreign          request is overly burdensome because it would     the Discovery Deficiency Letter dated October
Debtors, including, but not limited to, U.S.        require production of thousands of emails.        8, 2024.
Investment Manager, LLC; Prudent Group, Mr.         Technocon also contends that the request would    No data sourced using the ESI protocol and
Dennis Klemming, Mr. Niklas Klemming, Mr.           not be allowed without first establishing ESI     search terms has been provided.
Gareth Williams and Mr. Richard Reich.              protocols and determining whether cost-shifting
                                                    is appropriate.

                                                    With the exception of certain limited email
                                                    communications produced on October 30, 2024,
                                                    from a manual search by Mr Jacob Gitman of his
                                                    inbox, Sinai has not produced any relevant
                                                    documents in connection with this request.
Technocon Repeated Request No. 11: Please           Provided certain account statements for           Incomplete.      The Foreign Representatives
produce copies of all bank statements for the       Technocon International Inc. (d/b/a Alliance)     require a list of all accounts held during the
Relevant Period in respect of:                                                                        Relevant Period in the name of each of the
a) Alliance Metals, Chase Bank Account No.          On October 15, 2024, and on October 30, 2024      entities for which they have requested financial
            , Technocon International Inc,          provided some account statements for              records, all bank statements, and, for any
Amerant Bank Account No.                    and     Technocon, for limited selected months.           missing statements, reasons therefor.
any and all other Borrower’s Bank Accounts and
Operational Accounts (as defined by section 4 of    No bank account statements have been provided     Please refer to Schedule 1 hereto providing
the MLA); and                                       for Alliance Metals LLC.                          details of accounts identified by the Foreign
b) any other bank account in the name of                                                              Representatives and the periods for which bank
Technocon for the Relevant Period.                                                                    statements have been provided to date. This list
                                                                                                      of accounts may not be exhaustive, and
                                                                                                      confirmation of all accounts is required.

Technocon Repeated Request No. 13: Please           On September 13, 2024, counsel for Technocon      Incomplete. The Foreign Representatives are
produce a schedule detailing all security granted   responded that “Technocon intends to collect      entitled to all responsive documents with respect
in respect of the obligations created under the     documents responsive to this request. Two         to this request.
MLA, including, but not limited to:                 employees of Technocon have been out of the
a) All assigned and pledged receivables (together   office for several weeks, one for personal
with copies of all corresponding invoices           reasons and one for medical reasons. Once the
provided as security);                              employees return, Technocon believes it will be
b) Details of when those invoices were paid,        able to produce documents responsive to this
amount paid and details of the accounts(s) into     request.”
which proceeds were paid (including account
name, number, institution); and                     Technocon has not produced any relevant
c) How those proceeds were utilized thereafter.     documents in connection with this request.
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       Relevant Document Request(s)1                                    Response                                            Status
Technocon Repeated Request No. 14: Please             On September 13, 2024, counsel for Technocon     Incomplete. The Foreign Representatives are
produce all Draw Down Notices issued under the        responded that “Technocon intends to collect     entitled to all responsive documents with respect
MLA, together with all supporting Documents           documents responsive to this request. Two        to this request, including all Communications
and Communications in connection therewith.           employees of Alliance have been out of the       regarding the Drawdowns.
                                                      office for several weeks, one for personal
                                                      reasons and one for medical reasons. Once the
                                                      employees return, Alliance believes it will be
                                                      able to produce documents responsive to this
                                                      request.”

                                                      On November 8, 2024 three drawdown
                                                      schedules were produced, two of which
                                                      concern loans with lenders not involved in
                                                      these proceedings and which are unrelated to
                                                      the MLA. The “NAO – Reconciliation Model”
                                                      produced is understood to have been prepared
                                                      by the Administrator and/or Prudent Group.
Technocon Amended Request No. 15: Please              No relevant documents have been produced in      Incomplete. The Foreign Representatives are
produce All Documents and Communications              connection with this request.                    entitled to all responsive documents with respect
related to any utilization of the following funds                                                      to this request.
advanced to Technocon under the terms of the
MLA. Where the following funds were used to
purchase equipment and metals in the “lists of
equipment and metals” referenced in response to
this request under the September 10, 2024
response, please specify and reference the
specific assets funded by the below
drawdowns:[table included in discovery
deficiency letter dated as of October 8, 2024]
Technocon Amended Request No. 16: Please              No relevant documents have been produced in      Incomplete. The Foreign Representatives are
produce All Documents and Communications              connection with this request.                    entitled to all responsive documents with respect
surrounding the origination of the MLA.                                                                to this request.
Technocon Repeated Request No. 17: Please             No relevant documents have been produced in      Incomplete. The Foreign Representatives are
produce a schedule of all transfers of funds equal    connection with this request.                    entitled to all responsive documents with respect
to or greater than $50,000 during the Relevant                                                         to this request.
Period from and to Technocon, and its affiliates
or related entities, where the transferor/recipient
was:
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       Relevant Document Request(s)1                                  Response                                              Status
a) The Foreign Debtors (to the extent not
produced under Request for Production No. 15)
b) Alliance Metals LLC;
c) Sinai Holdings LLC;
d) Athena Medical Management Group LLC; or
e) Any related party.
Please specify the applicable accounts, dates,
amounts and purpose of the funds transferred.
Technocon Amended Request No. 18: Please            No relevant documents have been produced in        Incomplete. The Foreign Representatives are
produce copies of sale/purchase agreements,         connection with this request.                      entitled to all responsive documents with respect
invoices or any other relevant Documents                                                               to this request.
evidencing Technocon’s ownership of any
assets.
Technocon Amended Request No. 19: Please            No relevant documents have been produced in        Incomplete. The Foreign Representatives are
produce copies of all financing agreements,         connection with this request.                      entitled to all responsive documents with respect
including factoring agreements with the                                                                to this request.
following parties, including details of any
security or receivables pledged and confirmation
of the outstanding balance under those
agreements:
a) Caterpillar Financial Services Corporation;
and
b) UniCarriers Capital.
Technocon Repeated Request No. 20: Please           No relevant documents have been produced in        Incomplete. The Foreign Representatives are
produce all Documents and Communications            connection with this request.                      entitled to all responsive documents with respect
reflecting director resolutions and shareholder                                                        to this request.
resolutions of Technocon, and any materials
prepared in connection with any Technocon
board meetings, including board meeting
minutes, for the Relevant Period.
Technocon Repeated Request No. 21: Please           Technocon      objected      to   the    Foreign   Incomplete.     The Foreign Representatives
produce all Documents and Communications            Representatives’ initial Request No. 21, arguing   proposed an ESI protocol attached as Annex 1 to
other than those referenced in any of the           that the request is overly broad and burdensome    the Discovery Deficiency Letter dated as of
foregoing requests, concerning the financial or     because it would require Technocon employees       October 8, 2024.
business dealings of Technocon, or any affiliates   to conduct exhaustive searches of their inboxes.
or related parties, with the Foreign Debtors or                                                        No data sourced using the ESI protocol and
any party known to be, or which may be                                                                 search terms has been provided.
considered likely to be, a related party of the
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       Relevant Document Request(s)1                                Response                                           Status
Foreign Debtors, and Technocon and its
affiliates and related entities or parties.
Jacob Gitman (Sinai and Athena) Amended            No relevant documents have been produced in    Incomplete. The Foreign Representatives are
Request No. 1: Please produce all director         connection with this request.                  entitled to all responsive documents with respect
resolutions and shareholder resolutions of                                                        to this request.
Technocon and Alliance Metals for the Relevant
Period.
Jacob Gitman (Sinai and Athena) Amended            No relevant documents have been produced in    Incomplete. The Foreign Representatives are
Request No. 2. Please produce All Documents        connection with this request.                  entitled to all responsive documents with respect
prepared in connection with Athena and Sinai                                                      to this request.
Holdings’ board meetings and shareholder
meetings, including meeting minutes for the
Relevant Period.
Jacob Gitman (Sinai and Athena) Amended            No relevant documents have been produced in    Incomplete. The Foreign Representatives are
Request No. 6: Please produce All Documents        connection with this request.                  entitled to all responsive documents with respect
and Correspondence relating to any transactions                                                   to this request.
between You and Athena and Sinai Holdings,
during the Relevant Period including
transactions for transaction values greater than
or equal to $50,000.
Jacob Gitman (Sinai and Athena) Repeated           No relevant documents have been produced in    Incomplete. The Foreign Representatives are
Request No. 8: Please produce All Documents        connection with this request.                  entitled to all responsive documents with respect
and Communications with respect to Core                                                           to this request.
Scientific Creations Limited (“CSC”) (i)
concerning your appointment as a Director of
CSC; (ii) concerning Sinai Holdings’ acquisition
of shares in CSC; and (iii) with and between Mr.
Dennis Klemming in his capacity as Director of
the Foreign Debtors, as a Director of CSC and in
any other capacity whatsoever.
Jacob Gitman (Sinai and Athena) Amended            Certain email communications with Hancock      Incomplete. The Foreign Representatives are
Request No. 9: Please produce All Documents        Askew and Co. have been provided. No other     entitled to all responsive documents with respect
and Correspondence relating to Your dealings       relevant documents have been provided.         to this request.
with any auditor to Athena and Sinai Holdings
for the Relevant Period.
Jacob Gitman (Sinai and Athena) Amended            With respect to Mr. Jacob Gitman, a limited    Incomplete. Limited, “cherry-picked” emails
Request No. 12. Please produce all                 selection of emails received and sent by Mr.   provided. The Foreign Representatives are
Communications concerning:                         Gitman was produced on October 30, 2024. By
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           Relevant Document Request(s)1                                  Response                                            Status
    a) The Master Loan Agreement between Prudent        letter dated November 1, 2024, counsel for Mr.   entitled to all responsive documents with respect
    Cayman Investment Funds Master SPC - North          Gitman stated that these emails were collected   to this request.
    American Opportunity Master SP and Sinai            by Mr. Gitman via a manual search of his
    Holdings LLC dated November 14, 2018;               inbox, though they could not certify that the
    b) The Master Loan Agreement between Prudent        search was exhaustive.
    Cayman Investment Funds Master SPC - North
    American Opportunity Master SP and Sinai
    Holdings LLC dated and December 1, 2022;
    and
    c) The Master Loan Agreement between Prudent
    Cayman Investment Funds Master SPC - North
    American Opportunity Master SP and Athena
    dated January 1, 2023; including but not limited
    to drawdowns, utilization of funds, repayment,
    forbearance, and accounts receivable pledged as
    security between You and Mr. Dennis Klemming
    and any and all representatives of the Foreign
    Debtors, including, but not limited to: (i) U.S.
    Investment Manager, LLC, (ii) Prudent Group,
    (iii) Prudent Investimentos Ltda, (iv) Mr. Niklas
    Klemming, (v) Mr. Gareth Williams and (vi) Mr.
    Richard Reich; and make full disclosure of Your
    relationship (including duration of Your
    relationship) with each of the aforementioned
    individuals and entities for the period prior to
    and during the Relevant Period.
    Gitmans (Alliance and Technocon) Amended            No relevant documents have been produced in      Incomplete. The Foreign Representatives are
    Request No. 1: Please produce all director          connection with this request.                    entitled to all responsive documents with respect
    resolutions and shareholder resolutions of                                                           to this request.
    Technocon and Alliance Metals for the Relevant
    Period.
    Gitmans (Alliance and Technocon) Amended            No relevant documents have been produced in      Incomplete. The Foreign Representatives are
    Request No. 2:4 Please produce All Documents        connection with this request.                    entitled to all responsive documents with respect
    and Communications prepared in connection                                                            to this request.
    with Technocon and Alliance Metals’ board


4
       References to “Gitmans” apply to both Jacob Gitman and Ariel (Larry) Gitman.
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       Relevant Document Request(s)1                                  Response                                              Status
meetings and shareholder meetings, including
meeting minutes for the Relevant Period.
Gitmans (Alliance and Technocon) Amended            No relevant documents have been produced in        Incomplete. The Foreign Representatives are
Request No. 6: Please produce All Documents         connection with this request.                      entitled to all responsive documents with respect
and Correspondence relating to any transactions                                                        to this request.
between You and Technocon and You and
Alliance Metals, during the Relevant Period
including transactions for transaction values
greater than or equal to $50,000.

Gitmans (Alliance and Technocon) Amended            With respect to Mr. Jacob Gitman, a limited        Incomplete. Limited, “cherry-picked” emails
Request No. 7: Please produce all                   selection of emails received and sent by Mr.       provided. The Foreign Representatives are
Communications concerning the Master Loan           Gitman was produced on October 30, 2024. By        entitled to all responsive documents with respect
Agreement between Technocon and Cayman              letter dated November 1, 2024, counsel for Mr.     to this request.
Investment Funds Master SPC dated September         Gitman stated that these emails were collected
11, 2018 (including but not limited to              by Mr. Gitman via a manual search of his
drawdowns, utilization of funds, repayment,         inbox, though they could not certify that the
forbearance, and accounts receivable pledged as     search was exhaustive.
security) between you and Mr. Dennis
Klemming and any and all representatives of the
Foreign Debtors, including but not limited to:
(i) U.S. Investment Manager, LLC, (ii) Prudent
Group, (iii) Prudent Investimentos Ltda, (iv) Mr.
Niklas Klemming, (v) Mr. Gareth Williams and
(vi) Mr. Richard Reich; and make full disclosure
of Your relationship (including duration of Your
relationship) with each of the aforementioned
individuals and entities for the period prior to
and during the Relevant Period.
Athena Request for Production No. 1: Please         Operating Agreements for Athena (effective         Incomplete. The Foreign Representatives are
produce for the Relevant Period, an                 December 1, 2020 and December 10, 2021);           entitled to all responsive documents with respect
organizational chart and any other Documents        Surgical Specialists of St. Lucie County, LLC      to this request.
reflecting the corporate structure, ownership,      (effective May 15, 2007 and December 1, 2020);
management, control, operational status of all      IV Infusion Treatment Center, LLC (effective
subsidiaries and any and all other arrangements     December 2, 2016); and Surgical Treatment
whatsoever of and between Athena and all            Center, LLC (effective September 1, 2017 and
affiliates and related entities, including all      September 5, 2017) have been provided,
articles of incorporation, bylaws, shareholders     together with various corporate filings with the
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       Relevant Document Request(s)1                                   Response                                          Status
agreements, operating agreements, change of           Florida Division of Corporations (which are
name registrations, and all amendments thereto.       publicly accessible). No other relevant
                                                      documents have been provided.
Athena Request for Production No. 2: Please           No relevant documents have been produced in   Incomplete. The Foreign Representatives are
produce details of all licenses/certifications that   connection with this request                  entitled to all responsive documents with respect
You hold and that You are required by law to                                                        to this request.
hold, along with applicable expiration dates for
each license or certification. Please identify all
licenses/certifications that You do not presently
hold, but are required by law to hold, and include
an      explanation     regarding     any     such
noncompliance.
Athena Request for Production No. 3: Please           No relevant documents have been produced in   Incomplete. The Foreign Representatives are
produce All Documents and Communications              connection with this request                  entitled to all responsive documents with respect
relating to the appointment, termination and                                                        to this request.
resignation of the directors and officers of
Athena for the Relevant Period.
Athena Request for Production No. 4: Please           No relevant documents have been produced in   Incomplete. The Foreign Representatives are
produce, in Microsoft Excel format, all general       connection with this request                  entitled to all responsive documents with respect
ledger extracts, adjusting journal entries, and                                                     to this request.
bank reconciliations extracted from Athena’s
management accounts, for the Relevant Period
Athena Request for Production No. 5: Please           No relevant documents have been produced in   Incomplete. The Foreign Representatives are
produce All Documents relating to asset or            connection with this request                  entitled to all responsive documents with respect
liability transfers to and from Athena and its                                                      to this request.
affiliates and related entities for the Relevant
Period.
Athena Request for Production No. 6: Please           No relevant documents have been produced in   Incomplete. The Foreign Representatives are
produce All Documents relating to each                connection with this request                  entitled to all responsive documents with respect
insurance policy held by Athena during the                                                          to this request.
Relevant Period, including all contracts, proofs
of insurance, and related Documents.
Athena Request for Production No. 7: Please           No relevant documents have been produced in   Incomplete. The Foreign Representatives are
produce all audited and unaudited financial           connection with this request                  entitled to all responsive documents with respect
statement(s) of Athena for the Relevant Period,                                                     to this request.
including All Documents, Communications and
any other materials prepared or maintained in
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       Relevant Document Request(s)1                                   Response                                            Status
connection therewith, to the extent not produced
under Request for Production No. 4
Athena Request for Production No. 8: Please          No relevant documents have been produced in      Incomplete. The Foreign Representatives are
provide a current statement of financial position,   connection with this request                     entitled to all responsive documents with respect
cash flow and income statement, together with                                                         to this request.
All Documents necessary to verify the current
financial position of Athena.
Athena Request for Production No. 9: Please          With respect to Mr. Jacob Gitman, a limited      Incomplete. Limited, “cherry-picked” emails
produce all Communications between You and           selection of emails received and sent by Mr.     provided. The Foreign Representatives are
any and all representatives of the Foreign           Gitman was produced on October 30, 2024. By      entitled to all responsive documents with respect
Debtors, including, but not limited to, U.S.         letter dated November 1, 2024, counsel for Mr.   to this request.
Investment Manager, LLC, Prudent Group, Mr.          Gitman stated that these emails were collected
Dennis Klemming, Mr. Niklas Klemming, Mr.            by Mr. Gitman via a manual search of his
Gareth Williams, and Mr. Richard Reich.              inbox, though they could not certify that the
                                                     search was exhaustive.

Athena Request for Production No. 10: Please         Certain email correspondence between Allen       Incomplete. The Foreign Representatives are
produce All Documents and Communications             Licht, Athena and Richard Reich, Prudent         entitled to all responsive documents with respect
related to the Master Loan Agreement between         Group, between March 10, 2023 to September 3,    to this request.
Prudent Cayman Investment Funds Master SPC           2024 have been produced. No other relevant
- North American Opportunity Master SP and           documents have been produced in connection
Athena dated January 1, 2023 (“MLA”)                 with this request.
including all exhibits and annexures and any
subsequent amendments to the MLA.
Athena Request for Production No. 11: Please         No relevant documents have been produced in      Incomplete. The Foreign Representatives are
produce copies of all bank statements for the        connection with this request                     entitled to all responsive documents with respect
Relevant Period, including, without limitation:                                                       to this request.
a) the following accounts and any and all
Borrower’s Bank Accounts and Operational
Accounts (as defined by section 4 of the MLA)
[see table included in Subpoena Notice]; and b)
any other bank account in the name of Athena for
the Relevant Period.
Athena Request for Production No. 12: Please         No relevant documents have been produced in      Incomplete. The Foreign Representatives are
produce details of all DACA deposit accounts         connection with this request                     entitled to all responsive documents with respect
maintained for proceeds of any receivables                                                            to this request.
pledged under the MLA, including copies of all
bank statements during the Relevant Period, to
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       Relevant Document Request(s)1                                    Response                                               Status
the extent not provided under Request for
Production No. 11.
Athena Request for Production No. 13: Please        On September 27, 2024, Counsel for Athena             Incomplete. The Foreign Representatives are
produce a schedule detailing all security granted   responded that “Athena intends to collect             entitled to all responsive documents with respect
in respect of the obligations created under the     documents responsive to this request. The             to this request.
MLA, including, but not limited to: a) all          employee at Athena responsible for this
assigned and pledged receivables (together with     information has only recently returned to the
copies of all corresponding invoices provided as    office after medical leave. Athena believes it will
security); b) details of when those invoices were   be able to produce documents responsive to this
paid, amount paid and details of the account(s)     request in the next few weeks.”
into which proceeds were paid (account name,
number, institution); and c) how those              No relevant documents have been produced in
corresponding proceeds were utilized thereafter.    connection with this request.
Athena Request for Production No. 14: Please        On September 27, 2024, Counsel for Athena             Incomplete. The Foreign Representatives are
produce all Draw Down Notices issued under the      responded that “Athena intends to collect             entitled to all responsive documents with respect
MLA, together with All Documents and                documents responsive to this request. The             to this request.
Communications in connection therewith.             employee at Athena responsible for this
                                                    information has only recently returned to the
                                                    office after medical leave. Athena believes it will
                                                    be able to produce documents responsive to this
                                                    request in the next few weeks.”

                                                    On November 8, 2024 three drawdown
                                                    schedules were produced, two of which concern
                                                    loans with lenders not involved in these
                                                    proceedings and which are unrelated to the
                                                    MLA. The “NAO – Reconciliation Model”
                                                    produced is understood to have been prepared by
                                                    the Administrator and/or Prudent Group.
Athena Request for Production No. 15: Please        No relevant documents have been produced in           Incomplete. The Foreign Representatives are
produce All Documents and Communications            connection with this request                          entitled to all responsive documents with respect
related to any utilization of the amount of                                                               to this request.
$1,200,000 advanced under the MLA on
February 2, 2023.
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       Relevant Document Request(s)1                                   Response                                            Status
Athena Request for Production No. 16: Please         Response provided by reply dated September 27,
produce all loan application Documents and due       2024 was “None”
diligence materials provided by You to the
Foreign Debtors in conjunction with Your
request for a loan under the MLA.
Athena Request for Production No. 17: Please         No relevant documents have been produced in      Incomplete. The Foreign Representatives are
produce a schedule of all funds transferred          connection with this request                     entitled to all responsive documents with respect
during the Relevant Period from and to Athena,                                                        to this request.
and its affiliates or related entities, where the
transferor/recipient was: a) the Foreign Debtors
(to the extent not already produced under
Request for Production No. 11) or any affiliate
or related entity; or b) Sinai Holdings or any
affiliate or related entity. Please specify the
applicable accounts, dates, amounts, purpose
and utilization of the funds transferred and
provide All Documents and Communications in
connection therewith.
Athena Request for Production No. 18: Please         No relevant documents have been produced in      Incomplete. The Foreign Representatives are
produce a schedule detailing the assets,             connection with this request                     entitled to all responsive documents with respect
ownership of each asset, current market value of                                                      to this request.
each asset, and any corresponding liabilities, for
each asset owned or held by Athena and its
affiliates or related entities, together with All
Documents and Communications concerning the
acquisition, disposal, encumbrances and
condition of such assets and liabilities, as
applicable.
Athena Request for Production No. 19: Please         Response provided by reply dated September 27,
produce a schedule detailing all current leases to   2024 was “None”
which Athena is a party, specifying (i) lease
term; (ii) lessor name; and (iii) rent payable.
Athena Request for Production No. 20: Please         Response provided by reply dated September 27,
produce All Documents relating to any financing      2024 was “None”
agreements, to which Athena is a party,
including details of any security or receivables
pledged and confirmation of the outstanding
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       Relevant Document Request(s)1                                 Response                                          Status
balance under those agreements as at the date of
this Document Request.
Athena Request for Production No. 21: Please        No relevant documents have been produced in   Incomplete. The Foreign Representatives are
produce All Documents and Communications            connection with this request                  entitled to all responsive documents with respect
reflecting director resolutions and shareholder                                                   to this request.
resolutions and any materials prepared in
connection with any Athena board meetings,
including board meeting minutes, for the
Relevant Period.
Athena Request for Production No. 22: Please        No relevant documents have been produced in   Incomplete. The Foreign Representatives are
produce all reports, performance updates and        connection with this request                  entitled to all responsive documents with respect
promotional materials issued to investors and                                                     to this request.
potential investors in Athena for the Relevant
Period.
Athena Request for Production No. 23: Please        No relevant documents have been produced in   Incomplete. The Foreign Representatives are
produce copies of any and all regulatory            connection with this request                  entitled to all responsive documents with respect
complaints which have been issued to Athena by                                                    to this request.
government and professional bodies.
Athena Request for Production No. 24: Please        No relevant documents have been produced in   Incomplete. The Foreign Representatives are
produce All Documents and Communications            connection with this request                  entitled to all responsive documents with respect
other than those referenced in any of the                                                         to this request.
foregoing requests, concerning the financial or
business dealings of Athena, or any affiliates or
related parties, with the Foreign Debtors, or any
party known to be, or which may be considered
likely to be, a related party of the Foreign
Debtors and Sinai Holdings and its affiliates and
related entities or parties.
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                                                        SCHEDULE 1: IDENTIFIED ACCOUNTS
     Account Name                         Bank                Acct No.           Date received      Statements Provided   Status

1.   Alec Y Luic MD                       Marine Bank         N/A                N/A                N/A                   Incomplete. Account
                                                                                                                          listed in Annex 1 of the
                                                                                                                          Sinai Deficiency Letter
                                                                                                                          dated October 8, 2024.
                                                                                                                          Bank account statements
                                                                                                                          not provided.

2.   Alliance Metals LLC / Technocon      Metro Bank          N/A                N/A                N/A                   Incomplete. Account
                                                                                                                          identified by Foreign
                                                                                                                          Representatives. Bank
                                                                                                                          account statements not
                                                                                                                          provided.

3.   Ancovi International LLC             Regions Bank                 1-544     N/A                N/A                   Incomplete. Statement
                                                                                                                          analysis provided for
                                                                                                                          January and February
                                                                                                                          2020 but no bank
                                                                                                                          account statements
                                                                                                                          provided.

4.   Athena Medical Management Group,     Amerant Bank                0206       N/A                N/A                   Incomplete. Account
     LLC - Lockbox                                                                                                        identified by Foreign
                                                                                                                          Representatives. Bank
                                                                                                                          account statements not
                                                                                                                          provided.

5.   Athena Medical Management Group,     Amerant Bank                0106       N/A                N/A                   Incomplete. Account
     LLC - Operations                                                                                                     identified by Foreign
                                                                                                                          Representatives. Bank
                                                                                                                          account statements not
                                                                                                                          provided.

6.   Cardiovascular Surgical Suites       Bank United         *5763              N/A                N/A                   Incomplete. Account
                                                                                                                          identified by Foreign
                                                                                                                          Representatives. Bank
                                                                                                                          account statements not
                                                                                                                          provided.

7.   Charles Kahn and Wayne Riskin        Truist              **8680             N/A                N/A                   Incomplete. Account
                                                                                                                          listed in Annex 1 of the
                                                                                                                          Sinai Deficiency Letter
                                                                                                                          dated October 8, 2024.
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      Account Name                          Bank             Acct No.           Date received      Statements Provided   Status

                                                                                                                         Bank account statements
                                                                                                                         not provided.

8.    Charles Kahn and Wayne Riskin         Truist           **8631             N/A                N/A                   Incomplete. Account
                                                                                                                         listed in Annex 1 of the
                                                                                                                         Sinai Deficiency Letter
                                                                                                                         dated October 8, 2024.
                                                                                                                         Bank account statements
                                                                                                                         not provided.

9.    Charles Kahn and Wayne Riskin -       Amerant Bank             5306       N/A                N/A                   Incomplete. Account
      Collections                                                                                                        identified by Foreign
                                                                                                                         Representatives. Bank
                                                                                                                         account statements not
                                                                                                                         provided.

10.   Charles Kahn and Wayne Riskin -       Amerant Bank     1       5106       N/A                N/A                   Incomplete. Account
      Operations                                                                                                         identified by Foreign
                                                                                                                         Representatives. Bank
                                                                                                                         account statements not
                                                                                                                         provided.

11.   Charles Kahn and Wayne Riskin MD's    Citi                     5085       N/A                N/A                   Incomplete. Account
      Inc. - Collections                                                                                                 listed in Annex 1 of the
                                                                                                                         Sinai Deficiency Letter
                                                                                                                         dated October 8, 2024.
                                                                                                                         Bank account statements
                                                                                                                         not provided.

12.   Charles Kahn and Wayne Riskin MD's    Citi                     5072       N/A                N/A                   Incomplete. Account
      Inc. - Operations                                                                                                  listed in Annex 1 of the
                                                                                                                         Sinai Deficiency Letter
                                                                                                                         dated October 8, 2024.
                                                                                                                         Bank account statements
                                                                                                                         not provided.

13.   Frontier Surgical                     Bank United      *5801              N/A                N/A                   Incomplete. Account
                                                                                                                         identified by Foreign
                                                                                                                         Representatives. Bank
                                                                                                                         account statements not
                                                                                                                         provided.

14.   IV Infusion Treatment Center LLC      Regions Bank              1-595     N/A                N/A                   Incomplete. Statement
                                                                                                                         analysis provided for
                                                                                                                         January and February
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      Account Name                           Bank                 Acct No.        Date received      Statements Provided   Status

                                                                                                                           2020 but no bank
                                                                                                                           account statements
                                                                                                                           provided.

15.   IV Infusion Treatment Center, LLC      Space Coast Credit   N/A             N/A                N/A                   Incomplete. Account
                                             Union                                                                         listed in Annex 1 of the
                                                                                                                           Sinai Deficiency Letter
                                                                                                                           dated October 8, 2024.
                                                                                                                           Bank account statements
                                                                                                                           not provided.

16.   IV Infusion Treatment Center, LLC -    Amerant Bank               4206      N/A                N/A                   Incomplete. Account
      Collections                                                                                                          identified by Foreign
                                                                                                                           Representatives. Bank
                                                                                                                           account statements not
                                                                                                                           provided.

17.   IV Infusion Treatment Center, LLC -    Citi                       5455      N/A                N/A                   Incomplete. Account
      Collections                                                                                                          listed in Annex 1 of the
                                                                                                                           Sinai Deficiency Letter
                                                                                                                           dated October 8, 2024.
                                                                                                                           Bank account statements
                                                                                                                           not provided.

18.   IV Infusion Treatment Center, LLC -    Optimum Bank               3015      N/A                N/A                   Incomplete. Account
      Collections                                                                                                          identified by Foreign
                                                                                                                           Representatives. Bank
                                                                                                                           account statements not
                                                                                                                           provided.

19.   IV Infusion Treatment Center, LLC -    Amerant Bank               4106      N/A                N/A                   Incomplete. Account
      Operations                                                                                                           identified by Foreign
                                                                                                                           Representatives. Bank
                                                                                                                           account statements not
                                                                                                                           provided.

20.   IV Infusion Treatment Center, LLC -    Citi                       5442      N/A                N/A                   Incomplete. Account
      Operations                                                                                                           listed in Annex 1 of the
                                                                                                                           Sinai Deficiency Letter
                                                                                                                           dated October 8, 2024.
                                                                                                                           Bank account statements
                                                                                                                           not provided.
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      Account Name                           Bank             Acct No.         Date received      Statements Provided   Status

21.   IV Infusion Treatment Center, LLC -    Optimum Bank           3007       N/A                N/A                   Incomplete. Account
      Operations                                                                                                        identified by Foreign
                                                                                                                        Representatives. Bank
                                                                                                                        account statements not
                                                                                                                        provided.

22.   LGN International LLC                  Regions Bank            1-463     N/A                N/A                   Incomplete. Statement
                                                                                                                        analysis provided for
                                                                                                                        January and February
                                                                                                                        2020 but no bank
                                                                                                                        account statements
                                                                                                                        provided.

23.   Live Oak Endoscopy                     Marine Bank      N/A              N/A                N/A                   Incomplete. Account
                                                                                                                        listed in Annex 1 of the
                                                                                                                        Sinai Deficiency Letter
                                                                                                                        dated October 8, 2024.
                                                                                                                        Bank account statements
                                                                                                                        not provided.

24.   Medical Specialists of FTL, LLC -      Amerant Bank           5006       N/A                N/A                   Account identified by
      Collections                                                                                                       Foreign Representatives.
                                                                                                                        Bank account statements
                                                                                                                        not provided.

25.   Medical Specialists of FTL, LLC -      Citi                   2024       N/A                N/A                   Incomplete. Account
      Collections                                                                                                       listed in Annex 1 of the
                                                                                                                        Sinai Deficiency Letter
                                                                                                                        dated October 8, 2024.
                                                                                                                        Bank account statements
                                                                                                                        not provided.

26.   Medical Specialists of FTL, LLC -      Optimum Bank           3056       N/A                N/A                   Incomplete. Account
      Collections                                                                                                       identified by Foreign
                                                                                                                        Representatives. Bank
                                                                                                                        account statements not
                                                                                                                        provided.

27.   Medical Specialists of FTL, LLC -      Amerant Bank           4906       N/A                N/A                   Incomplete. Account
      Operations                                                                                                        identified by Foreign
                                                                                                                        Representatives. Bank
                                                                                                                        account statements not
                                                                                                                        provided.
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      Account Name                           Bank             Acct No.        Date received      Statements Provided   Status

28.   Medical Specialists of FTL, LLC -      Citi                   2037      N/A                N/A                   Incomplete. Account
      Operations                                                                                                       listed in Annex 1 of the
                                                                                                                       Sinai Deficiency Letter
                                                                                                                       dated October 8, 2024.
                                                                                                                       Bank account statements
                                                                                                                       not provided.

29.   Medical Specialists of FTL, LLC -      Optimum Bank          3049       N/A                N/A                   Incomplete. Account
      Operations                                                                                                       identified by Foreign
                                                                                                                       Representatives. Bank
                                                                                                                       account statements not
                                                                                                                       provided.

30.   Physicians Surgical Network, LLC       Suntrust Bank    Unknown         N/A                N/A                   Incomplete. Account
                                                                                                                       listed in Annex 1 of the
                                                                                                                       Sinai Deficiency Letter
                                                                                                                       dated October 8, 2024.
                                                                                                                       Bank account statements
                                                                                                                       not provided.

31.   Physicians Surgical Network, LLC       Truist           **5696          N/A                N/A                   Incomplete. Account
                                                                                                                       listed in Annex 1 of the
                                                                                                                       Sinai Deficiency Letter
                                                                                                                       dated October 8, 2024.
                                                                                                                       Bank account statements
                                                                                                                       not provided.

32.   Physicians Surgical Network, LLC -     Amerant Bank           4806      N/A                N/A                   Incomplete. Account
      Collections                                                                                                      identified by Foreign
                                                                                                                       Representatives. Bank
                                                                                                                       account statements not
                                                                                                                       provided.

33.   Physicians Surgical Network, LLC -     Citi                   2367      N/A                N/A                   Incomplete. Account
      Collections                                                                                                      listed in Annex 1 of the
                                                                                                                       Sinai Deficiency Letter
                                                                                                                       dated October 8, 2024.
                                                                                                                       Bank account statements
                                                                                                                       not provided.

34.   Physicians Surgical Network, LLC -     Optimum Bank          2991       N/A                N/A                   Incomplete. Account
      Collections                                                                                                      identified by Foreign
                                                                                                                       Representatives. Bank
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      Account Name                         Bank            Acct No.         Date received         Statements Provided        Status

                                                                                                                             account statements not
                                                                                                                             provided.

35.   Physicians Surgical Network, LLC -   Amerant Bank          4706       N/A                   N/A                        Incomplete. Account
      Operations                                                                                                             identified by Foreign
                                                                                                                             Representatives. Bank
                                                                                                                             account statements not
                                                                                                                             provided.

36.   Physicians Surgical Network, LLC -   Citi                  2354       N/A                   N/A                        Incomplete. Account
      Operations                                                                                                             listed in Annex 1 of the
                                                                                                                             Sinai Deficiency Letter
                                                                                                                             dated October 8, 2024.
                                                                                                                             Bank account statements
                                                                                                                             not provided.

37.   Physicians Surgical Network, LLC -   Optimum Bank         2983        N/A                   N/A                        Incomplete. Account
      Operations                                                                                                             identified by Foreign
                                                                                                                             Representatives. Bank
                                                                                                                             account statements not
                                                                                                                             provided.

38.   Prudent Investimentos LLC            Regions Bank           1-552     N/A                   N/A                        Incomplete. Statement
                                                                                                                             analysis provided for
                                                                                                                             January and February
                                                                                                                             2020 but no bank
                                                                                                                             account statements
                                                                                                                             provided.

39.   Signet International LLC             Regions Bank           1-560     N/A                   N/A                        Incomplete. Account
                                                                                                                             identified by Foreign
                                                                                                                             Representatives. Bank
                                                                                                                             account statements not
                                                                                                                             provided.

40.   Sinai Holdings LLC                   Chase                7229        N/A                   N/A                        Incomplete. Account
                                                                                                                             listed in Annex 1 of the
                                                                                                                             Sinai Deficiency Letter
                                                                                                                             dated October 8, 2024.
                                                                                                                             Bank account statements
                                                                                                                             not provided.

41.   Sinai Holdings LLC                   Radius Bank           0071       October 30, 2024      April 15, 2020 – October   Incomplete. Require
                                                                                                  30, 2020                   statements for entire
                                                                                                                             Relevant Period up to
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      Account Name                          Bank             Acct No.         Date received         Statements Provided        Status

                                                                                                                               current date or confirmed
                                                                                                                               date of account closure.

42.   Sinai Holdings LLC                    Radius Bank            0409       October 30, 2024      April 15, 2020 – October   Incomplete. Require
                                                                                                    30, 2020                   statements for entire
                                                                                                                               Relevant Period up to
                                                                                                                               current date or confirmed
                                                                                                                               date of account closure.

43.   Sinai Holdings LLC                    Radius Bank            3864       October 30, 2024      May 11, 2020 – October     Incomplete. Require
                                                                                                    30, 2020                   statements for entire
                                                                                                                               Relevant Period up to
                                                                                                                               current date or confirmed
                                                                                                                               date of account closure.

44.   Sinai Holdings LLC                    Regions Bank            1-536     October 30, 2024      January 1, 2020 –          Incomplete. Require
                                                                                                    February 28, 2020          statements for entire
                                                                                                                               Relevant Period up to
                                                                                                                               current date or confirmed
                                                                                                                               date of account closure.

45.   Sinai Holdings LLC                    Regions Bank            8-661     October 30, 2024      December 12, 2019 –        Incomplete. Require
                                                                                                    February 28, 2020          statements for entire
                                                                                                                               Relevant Period up to
                                                                                                                               current date or confirmed
                                                                                                                               date of account closure.

46.   Sinai Holdings LLC - Lockbox 4 -      IFB Bank               5941       N/A                   N/A                        Incomplete. Account
      NAO                                                                                                                      identified by Foreign
                                                                                                                               Representatives. Bank
                                                                                                                               account statements not
                                                                                                                               provided.

47.   Sinai Holdings LLC - Operating        Regions Bank            1-587     October 30, 2024      January 1, 2020 –          Incomplete. Require
      Account                                                                                       February 28, 2020          statements for entire
                                                                                                                               Relevant Period up to
                                                                                                                               current date or confirmed
                                                                                                                               date of account closure.

48.   Sinai Holdings, LLC                   Amerant Bank           3706       N/A                   N/A                        Incomplete. Account
                                                                                                                               identified by Foreign
                                                                                                                               Representatives. Bank
                                                                                                                               account statements not
                                                                                                                               provided.
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      Account Name             Bank             Acct No.        Date received              Statements Provided      Status

49.   Sinai Holdings, LLC      Amerant Bank           3806      N/A                        N/A                      Incomplete. Account
                                                                                                                    identified by Foreign
                                                                                                                    Representatives. Bank
                                                                                                                    account statements not
                                                                                                                    provided.

50.   Sinai Holdings, LLC      Amerant Bank           3906      N/A                        N/A                      Incomplete. Account
                                                                                                                    identified by Foreign
                                                                                                                    Representatives. Bank
                                                                                                                    account statements not
                                                                                                                    provided.

51.   Sinai Holdings, LLC      Amerant Bank           3506      N/A                        N/A                      Incomplete. Account
                                                                                                                    identified by Foreign
                                                                                                                    Representatives. Bank
                                                                                                                    account statements not
                                                                                                                    provided.

52.   Sinai Holdings, LLC      Citi                   5390      October 15 & 30, 2024      October 1, 2020 –        Incomplete. Require
                                                                                           December 31, 2023        2024 statements.
                                                                                                                    Statements provided
                                                                                                                    have balance redacted
                                                                                                                    and pages with
                                                                                                                    movements have been
                                                                                                                    omitted.

53.   Sinai Holdings, LLC      Citi                   5387      October 15 & 30, 2024      October 1, 2020 - June   Incomplete. Require
                                                                                           30, 2024                 statements for entire
                                                                                                                    Relevant Period up to
                                                                                                                    current date or confirmed
                                                                                                                    date of account closure.

54.   Sinai Holdings, LLC      Citi                   5400      October 15 & 30, 2024      October 1, 2020 - June   Incomplete. Require
                                                                                           30, 2024                 statements for entire
                                                                                                                    Relevant Period up to
                                                                                                                    current date or confirmed
                                                                                                                    date of account closure.

55.   Sinai Holdings, LLC      Citi                   9072      October 15, 2024           October 1, 2021 –        Incomplete. Require
                                                                                           December 31, 2022        statements for entire
                                                                                                                    Relevant Period up to
                                                                                                                    current date or confirmed
                                                                                                                    date of account closure.
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      Account Name                          Bank             Acct No.         Date received              Statements Provided       Status

56.   Sinai Holdings, LLC                   Citi                   5374       October 15 & 30, 2024      October 1, 2020 – April   Incomplete. Require
                                                                                                         30, 2021; June 1, 2021-   statements for entire
                                                                                                         June 30, 2024             Relevant Period up to
                                                                                                                                   current date or confirmed
                                                                                                                                   date of account closure.

57.   Sinai Holdings, LLC - ICA Lockbox     Optimum Bank          2751        N/A                        N/A                       Incomplete. Account
                                                                                                                                   identified by Foreign
                                                                                                                                   Representatives. Bank
                                                                                                                                   account statements not
                                                                                                                                   provided.

58.   Sinai Holdings, LLC - IIC Lockbox     Optimum Bank          2777        N/A                        N/A                       Incomplete. Account
                                                                                                                                   identified by Foreign
                                                                                                                                   Representatives. Bank
                                                                                                                                   account statements not
                                                                                                                                   provided.

59.   Sinai Holdings, LLC - IPA Lockbox     Optimum Bank          2744        N/A                        N/A                       Incomplete. Account
                                                                                                                                   identified by Foreign
                                                                                                                                   Representatives. Bank
                                                                                                                                   account statements not
                                                                                                                                   provided.

60.   Sinai Holdings, LLC - NAO Lockbox     Optimum Bank          2769        N/A                        N/A                       Incomplete. Account
                                                                                                                                   identified by Foreign
                                                                                                                                   Representatives. Bank
                                                                                                                                   account statements not
                                                                                                                                   provided.

61.   Sinai Holdings, LLC - Operations      Optimum Bank          2736        N/A                        N/A                       Incomplete. Account
                                                                                                                                   identified by Foreign
                                                                                                                                   Representatives. Bank
                                                                                                                                   account statements not
                                                                                                                                   provided.

62.   Sinai Holdings, LLC -Operating        IFB Bank               5895       N/A                        N/A                       Incomplete. Account
      Account                                                                                                                      identified by Foreign
                                                                                                                                   Representatives. Bank
                                                                                                                                   account statements not
                                                                                                                                   provided.

63.   SKG International LLC                 Regions Bank            1-471     N/A                        N/A                       Incomplete. Statement
                                                                                                                                   analysis provided for
                                                                                                                                   January and February
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      Account Name                                Bank           Acct No.        Date received      Statements Provided   Status

                                                                                                                          2020 but no bank
                                                                                                                          account statements
                                                                                                                          provided.

64.   Suncoast Surgical Suites                    Optimum Bank        9194       N/A                N/A                   Incomplete. Account
                                                                                                                          identified by Foreign
                                                                                                                          Representatives. Bank
                                                                                                                          account statements not
                                                                                                                          provided.

65.   Surgical Specialist of Specialists of St.   Amerant Bank         4506      N/A                N/A                   Incomplete. Account
      Lucie County - Collections                                                                                          identified by Foreign
                                                                                                                          Representatives. Bank
                                                                                                                          account statements not
                                                                                                                          provided.

66.   Surgical Specialist of Specialists of St.   Citi                 1985      N/A                N/A                   Incomplete. Account
      Lucie County - Collections                                                                                          listed in Annex 1 of the
                                                                                                                          Sinai Deficiency Letter
                                                                                                                          dated October 8, 2024.
                                                                                                                          Bank account statements
                                                                                                                          not provided.

67.   Surgical Specialist of Specialists of St.   Optimum Bank        3072       N/A                N/A                   Incomplete. Account
      Lucie County - Collections                                                                                          identified by Foreign
                                                                                                                          Representatives. Bank
                                                                                                                          account statements not
                                                                                                                          provided.

68.   Surgical Specialist of Specialists of St.   Amerant Bank         4306      N/A                N/A                   Incomplete. Account
      Lucie County - Operations                                                                                           identified by Foreign
                                                                                                                          Representatives. Bank
                                                                                                                          account statements not
                                                                                                                          provided.

69.   Surgical Specialist of Specialists of St.   Citi                 1972      N/A                N/A                   Incomplete. Account
      Lucie County - Operations                                                                                           listed in Annex 1 of the
                                                                                                                          Sinai Deficiency Letter
                                                                                                                          dated October 8, 2024.
                                                                                                                          Bank account statements
                                                                                                                          not provided.

70.   Surgical Specialist of Specialists of St.   Optimum Bank        3064       N/A                N/A                   Incomplete. Account
      Lucie County - Operations                                                                                           identified by Foreign
                                                                                                                          Representatives. Bank
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      Account Name                          Bank             Acct No.         Date received      Statements Provided   Status

                                                                                                                       account statements not
                                                                                                                       provided.

71.   Surgical Treatment Center LLC         Regions Bank            1-579     N/A                N/A                   Incomplete. Statement
                                                                                                                       analysis provided for
                                                                                                                       January and February
                                                                                                                       2020 but no bank
                                                                                                                       account statements
                                                                                                                       provided.

72.   Surgical Treatment Center, LLC -      Amerant Bank           5506       N/A                N/A                   Incomplete. Account
      Collections                                                                                                      identified by Foreign
                                                                                                                       Representatives. Bank
                                                                                                                       account statements not
                                                                                                                       provided.

73.   Surgical Treatment Center, LLC -      Optimum Bank          3031        N/A                N/A                   Incomplete. Account
      Collections                                                                                                      identified by Foreign
                                                                                                                       Representatives. Bank
                                                                                                                       account statements not
                                                                                                                       provided.

74.   Surgical Treatment Center, LLC -      Optimum Bank          3023        N/A                N/A                   Incomplete. Account
      Operations                                                                                                       identified by Foreign
                                                                                                                       Representatives. Bank
                                                                                                                       account statements not
                                                                                                                       provided.

75.   Surgical Treatment Center, LLC DBA    Optimum Bank          7089        N/A                N/A                   Incomplete. Account
      DBA BLUE WATER SURGERY                                                                                           identified by Foreign
      CENTER                                                                                                           Representatives. Bank
                                                                                                                       account statements not
                                                                                                                       provided.

76.   Surgical Treatment Center, LLC DBA    Optimum Bank          9904        N/A                N/A                   Incomplete. Account
      SURGICAL SPECIALISTS OF ST                                                                                       identified by Foreign
      LUCIE COUNTY                                                                                                     Representatives. Bank
                                                                                                                       account statements not
                                                                                                                       provided.

77.   Surgical Treatment Center, LLC DBA    Optimum Bank          7071        N/A                N/A                   Incomplete. Account
      VERO ANESTHESIA                                                                                                  identified by Foreign
                                                                                                                       Representatives. Bank
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      Account Name                           Bank               Acct No.        Date received              Statements Provided       Status

                                                                                                                                     account statements not
                                                                                                                                     provided.

78.   Surgicial Treatment Center, LLC -      Citi                     5497      N/A                        N/A                       Incomplete. Account
      Collections                                                                                                                    listed in Annex 1 of the
                                                                                                                                     Sinai Deficiency Letter
                                                                                                                                     dated October 8, 2024.
                                                                                                                                     Bank account statements
                                                                                                                                     not provided.

79.   Surgicial Treatment Center, LLC -      Amerant Bank             5406      N/A                        N/A                       Incomplete. Account
      Operations                                                                                                                     identified by Foreign
                                                                                                                                     Representatives. Bank
                                                                                                                                     account statements not
                                                                                                                                     provided.

80.   Surgicial Treatment Center, LLC -      Citi                     5484      N/A                        N/A                       Incomplete. Account
      Operations                                                                                                                     listed in Annex 1 of the
                                                                                                                                     Sinai Deficiency Letter
                                                                                                                                     dated October 8, 2024.
                                                                                                                                     Bank account statements
                                                                                                                                     not provided.

81.   TC Pathology Lab                       Marine Bank        Unknown         N/A                        N/A                       Incomplete. Account
                                                                                                                                     listed in Annex 1 of the
                                                                                                                                     Sinai Deficiency Letter
                                                                                                                                     dated October 8, 2024.
                                                                                                                                     Bank account statements
                                                                                                                                     not provided.

82.   Technocon                              Bank Independent      6507         October 30, 2024           January 7, 2022 - May     Incomplete. Require
                                                                                                           31, 2023                  statements for entire
                                                                                                                                     Relevant Period up to
                                                                                                                                     current date or confirmed
                                                                                                                                     date of account closure.

83.   Technocon International Inc.           Regions                  8718      October 15, 2024           December 11, 2019 -       Incomplete. Require
                                                                                                           April 30, 2020            statements for entire
                                                                                                                                     Relevant Period up to
                                                                                                                                     current date or confirmed
                                                                                                                                     date of account closure.

84.   Technocon International Inc., DBA      Ciitbank                 1154      October 15 & 30, 2024      March 24, 2020 to April   Incomplete. Require
      Alliance Metals                                                                                      30, 2021                  statements for entire
                                                                                                                                     Relevant Period up to
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      Account Name                             Bank           Acct No.            Date received         Statements Provided        Status

                                                                                                                                   current date or confirmed
                                                                                                                                   date of account closure.

85.   Technocon International Inc., DBA        Regions Bank          1-528        October 30, 2024      January 1, 2020 to April   Incomplete. Require
      Alliance Metals                                                                                   30, 2020                   statements for entire
                                                                                                                                   Relevant Period up to
                                                                                                                                   current date or confirmed
                                                                                                                                   date of account closure.

86.   Technocon International Inc., DBA        Amerant Bank         5306          October 15, 2024      May 1, 2023 –              Incomplete. Require
      Alliance Metals "Collections Account"                                                             September 30, 2023         statements for entire
                                                                                                                                   Relevant Period up to
                                                                                                                                   current date or confirmed
                                                                                                                                   date of account closure.

87.   Technocon International Inc., DBA        PNC Bank              -1481        October 15, 2024      May 6, 2021 – October      Incomplete. Require
      Alliance Metals Collections                                                                       29, 2021                   statements for entire
                                                                                                                                   Relevant Period up to
                                                                                                                                   current date or confirmed
                                                                                                                                   date of account closure.

88.   Technocon International Inc., DBA        Amerant Bank         5206          October 15, 2024      May 1, 2023 – August       Incomplete. Require
      Alliance Metals Operations                                                                        31, 2023                   statements for entire
                                                                                                                                   Relevant Period up to
                                                                                                                                   current date or confirmed
                                                                                                                                   date of account closure.

89.   Technocon International Inc., DBA        PNC Bank                  1473     October 30, 2024      May 6, 2021 –              Incomplete. Require
      Alliance Metals Operations                                                                        November 30, 2021          statements for entire
                                                                                                                                   Relevant Period up to
                                                                                                                                   current date or confirmed
                                                                                                                                   date of account closure.

90.   Top Office Pros Business Services Inc.                             -226     N/A                   N/A                        Incomplete. Statement
                                                                                                                                   analysis provided for
                                                                                                                                   January and February
                                                                                                                                   2020 but no bank
                                                                                                                                   account statements
                                                                                                                                   provided.

91.   U.S. Healthcare Collections, LLC         Citi                 2619          N/A                   N/A                        Incomplete. Account
                                                                                                                                   identified by Foreign
                                                                                                                                   Representatives. Bank
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      Account Name                Bank                    Acct No.         Date received      Statements Provided   Status

                                                                                                                    account statements not
                                                                                                                    provided.

92.   Unkonwn                     TD Ameritrade           N/A              N/A                N/A                   Incomplete. Account
                                                                                                                    identified by Foreign
                                                                                                                    Representatives. Bank
                                                                                                                    account statements not
                                                                                                                    provided.

93.   Unkown                      International Finance   N/A              N/A                N/A                   Incomplete. Account
                                  Bank                                                                              identified by Foreign
                                                                                                                    Representatives. Bank
                                                                                                                    account statements not
                                                                                                                    provided.

94.   Unkown                      Island Bank             N/A              N/A                N/A                   Incomplete. Account
                                                                                                                    identified by Foreign
                                                                                                                    Representatives. Bank
                                                                                                                    account statements not
                                                                                                                    provided.

95.   Vero Anesthesia             Marine Bank             N/A              N/A                N/A                   Incomplete. Account
                                                                                                                    listed in Annex 1 of the
                                                                                                                    Sinai Deficiency Letter
                                                                                                                    dated October 8, 2024.
                                                                                                                    Bank account statements
                                                                                                                    not provided.

96.   VGM International Inc.      Regions Bank                   1-242     N/A                N/A                   Incomplete. Statement
                                                                                                                    analysis provided for
                                                                                                                    January and February
                                                                                                                    2020 but no bank
                                                                                                                    account statements
                                                                                                                    provided.
